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 5

 6              IN THE UNITED STATES DISTRICT COURT FOR THE

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,    )        1:10-CR-00305-LJO
                                  )
10                  Plaintiff,    )        FINAL ORDER OF FORFEITURE
                                  )
11        v.                      )
                                  )
12   ERNESTO ROCHA,               )
      aka Michael Mendez,         )
13   JESUS RODRIGUEZ SALCIDO, and )
     MARCO ANTONIO LOPEZ-FLOREZ, )
14                                )
                    Defendants.   )
15                                )

16        WHEREAS, on April 8, 2011 and October 6, 2011, the Court

17   entered Preliminary Orders of Forfeiture, forfeiting to the United

18   States all right, title, and interest of defendants Ernesto Rocha,

19   Marco Antonio Lopez-Florez, and Jesus Rodriguez Salcido in the

20   following property:

21             a.    One 9mm Ruger firearm,
               b.    One Ruger Speed Six .357 magnum handgun with a
22                   loaded magazine, and
               c.    One Remington scoped rifle.
23

24        AND WHEREAS, beginning on April 9 and November 17, 2011, for

25   at least 30 consecutive days, the United States published notice

26   of the Court’s Order of Forfeiture on the official internet

27   government forfeiture site www.forfeiture.gov.         Said published

28   notice advised all third parties of their right to petition the

                                          1                   Final Order of Forfeiture
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 1   Court within sixty (60) days from the first day of publication of

 2   the notice for a hearing to adjudicate the validity of their

 3   alleged legal interest in the forfeited property;

 4            AND WHEREAS, the United States sent direct written notice by

 5   certified mail to the following persons or entities known to have

 6   an alleged interest in the above-listed properties: John Thomas

 7   Hernandez, Jr., Dominique C. Minaberrigarai, and Fabian H. Gomez;

 8            AND WHEREAS, the Court has been advised that no third party

 9   has filed a claim to the subject property and the time for any

10   person or entity to file a claim has expired.

11            Accordingly, it is hereby ORDERED and ADJUDGED:

12            1.      A Final Order of Forfeiture shall be entered forfeiting

13   to the United States of America all right, title, and interest in

14   the above-listed property pursuant to 21 U.S.C. § 853(a), to be

15   disposed of according to law, including all right, title, and

16   interest of Ernesto Rocha, Jesus Rodriguez Salcido, and Marco

17   Antonio Lopez-Florez.

18            2.      All right, title, and interest in the above-listed

19   property shall vest solely in the name of the United States of

20   America.

21            3.      The Department of Homeland Security, Customs and Border

22   Protection shall maintain custody of and control over the subject

23   property until it is disposed of according to law.

24            IT IS SO ORDERED.

25   Dated:        April 9, 2012             /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
26

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28

                                            2                  Final Order of Forfeiture
